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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

S.C.G., a minor child, by and through
his next friend, JAMANIC REAVES,
and K.L.P., on behalf of themselves and
all others similarly situated,

                Plaintiffs,                           CIVIL ACTION
                                                      1:22-cv-01324-LMM
         v.

CANDICE BROCE, in her Official
Capacity as Commissioner of the
Department of Human Services,

                Defendant.


        PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S
             MOTION TO DISMISS AMENDED COMPLAINT

        COMES NOW Plaintiffs SCG and KLP, by and through their counsel, and

file their Response in Opposition to Defendant’s Motion to Dismiss Amended

Complaint [Doc. 13] and shows this Court as follows:

   I.         INTRODUCTION

        Plaintiffs bring this civil rights action for declaratory and injunctive relief

under 42 U.S.C. § 1983 seeking to enjoin Defendant Broce in her official capacity

as the Commissioner of the Georgia Department of Human Services (“DHS”) from


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continuing to violate the rights of the Plaintiffs and similarly situated

undocumented children and youth in the custody of the Georgia Division of Family

and Children Services (“DFCS”) by failing to timely implement their case plans in

violation of the Adoption Assistance and Child Welfare Act (“AACWA”), 42

U.S.C. § 671(a)(16) and O.C.G.A. §§ 15-11-201 & 203(b)(2) and by failing to

provide notice of the denial of extended foster care services and of a right to a

hearing in violation of the Due Process Clause of the Fourteenth Amendment to the

U.S. Constitution and the Due Process Clause of the Georgia Constitution.

         Defendant seeks dismissal of Plaintiffs’ claims under Fed.R.Civ.P. 12(b)(1)

and (6). None of Defendant’s arguments have merit and her motion is due to be

denied.

   II.      FACTUAL BACKGROUND

         The Plaintiffs are undocumented youth who were in DFCS custody pursuant

to orders of Georgia Juvenile Courts. The Juvenile Courts found that reunification

of the Plaintiffs with one or both parents was not viable due to abuse, battery,

abandonment, or neglect and that it would not be in the Plaintiffs’ best interests to

be returned to their country of nationality or last residence. Both state and federal

law requires DFCS to develop and implement a detailed case plan for each of the




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Plaintiffs upon entering foster care. See 42 U.S.C. § 671(a)(16); O.C.G.A. § 15-11-

201.

       Because Plaintiffs were undocumented children in foster care whom the

Georgia Juvenile Courts determined should not be reunified with one or both

parents due to abuse or neglect, they were eligible for Special Immigrant Juvenile

(“SIJ”) classification. See 8 U.S.C. § 1101(a)(27)(J); 8 C.F.R. § 204.11. The

classification of SIJ status was created by Congress to provide humanitarian

protection for abused, neglected, or abandoned child immigrants eligible for long-

term foster care. See U.S. Citizenship and Immigration Services Policy Manual,

Volume 6, Part J, Chapter 1 (available at: https://www.uscis.gov/policy-

manual/volume-6-part-j-chapter-1). Securing SIJ status protects the young person

from removal from the United States. A child or youth with SIJ status may adjust

her or his status to that of a lawful permanent resident, obtain work authorization,

and eventually apply for U.S. citizenship. See 8 U.S.C. § 1255(h).

       DFCS Policy No. 10.17 required the agency to pursue a permanency case

plan for Plaintiffs and similarly situated undocumented children in DFCS custody

that included seeking immigration status relief under the SIJ classification. [Doc.

11-1]. Plaintiffs allege that DFCS developed a permanency case plan for each

Plaintiff which plan included seeking the SIJ classification for each Plaintiff.

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Because Plaintiffs were not candidates for reunification with their parents, DFCS

was required to make reasonable efforts to complete whatever steps were necessary

to finalize Plaintiffs’ permanency case plans. O.C.G.A. § 15-11-203(b)(2); 42

U.S.C. § 671(a)(15)(E)(ii). Plaintiffs allege DFCS failed to timely pursue SIJ

classification for Plaintiffs as part of their permanency case plans by retaining

qualified legal counsel to apply for the SIJ classification. Plaintiffs allege DFCS

will regularly retain legal counsel for children in custody if required to obtain

needed benefits or services as part of the permanency plan such as for SSI benefits

or special education services. A pro bono immigration attorney had to be located

and engaged for both Plaintiffs. Plaintiffs allege that as a result of DFCS’s actions

and inactions, Plaintiffs’ applications for the SIJ classification were substantially

delayed and neither Plaintiff had SIJ status when they turned 18 years of age.

      Pursuant to the John H. Chafee Foster Care Program for Successful

Transition to Adulthood, 42 U.S.C. 677, Georgia provides extended foster care

services to youth between the ages of 18 and 21. See O.C.G.A. §§ 15-11-340

through 15-11-342. Under Georgia law, children in foster care who do not find a

permanent home before their 18th birthday through reunification with family,

guardianship, or adoption are eligible for extended foster care until the age of 21.

See O.C.G.A. § 15-11-340. Children in extended foster care can continue to

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receive residential, vocational, and educational support necessary to their

becoming responsible adults. Youth in extended foster care between the ages of 18

and 21 are defined as “children” pursuant to OCGA § 15-11-2 and remain eligible

for these services so long as they meet one of the following criteria set forth in

OCGA § 15-11-340 (a):

      (1) Be completing secondary education or a program leading to an
          equivalent credential;
      (2) Be enrolled in an institution which provides postsecondary or
          vocational education;
      (3) Be a participant in a program or activity designed to promote or
          remove barriers to employment;
      (4) Be employed for at least 120 hours per month;
      (5) Be employed for 80 hours per month, provided that he or she is
          also engaged in one of the activities described in paragraphs (1)
          through (3) of this subsection or can only work 80 hours per month
          due to a medical condition; or
      (6) Be incapable of doing any of the activities described in paragraphs
          (1) through (5) of this subsection due to a medical condition.

      Both Plaintiffs met the eligibility requirements for extended foster care

services. Defendant did not find a permanent home for Plaintiffs prior to either of

them turning 18 through reunification with family, guardianship, or adoption.

Plaintiff SCG is eligible for extended foster care because of his disability and the

fact that he remains in high school. Plaintiff KLP is also eligible for extended

foster care because she is still in high school.




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      Plaintiff K.L.P was provided extended foster care services after turning 18

but was ejected from extended foster care by Defendant around November, 2021.

Plaintiff K.L.P. was not provided by Defendant with notice of the reasons for the

denial of extended foster care services nor was she provided an opportunity to

request a hearing to challenge the denial. Plaintiff S.C.G. was not afforded by

Defendant an opportunity to apply for extended foster care services upon his

eighteenth birthday. Plaintiff S.C.G. was also not informed in writing or otherwise

that he was denied extended foster care services or provided an opportunity to

request a hearing to challenge the denial.

      III.   ARGUMENT

          A. Standing and Mootness

      Defendant first argues that Plaintiffs lack standing and their claims are moot.

Defendant’s argument is without merit.

      “In order to have constitutional standing, it is axiomatic that a federal action

must present a real case or controversy under Article III of the Constitution.”

Gagliardi v. TJCV Land Tr., 889 F.3d 728, 732 (11th Cir. 2018). That requirement

must be met at a case’s inception, and “a justiciable case or controversy” must be

“present ‘at all stages of review.’” Id. at 733 (quoting Christian Coal. of Fla., Inc.

v. United States, 662 F.3d 1182, 1190 (11th Cir. 2011)). “[W]hen the reviewing

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court can no longer offer any effective relief” to a prevailing party, a case becomes

moot. Id. “[A]n action that is moot cannot be characterized as an active case or

controversy.” Hall v. Sec’y, Ala., 902 F.3d 1294, 1297 (11th Cir. 2018) (quoting Al

Najjar v. Ashcroft, 273 F.3d 1330, 1335 (11th Cir. 2001) (per curiam)); see also

A&M Gerber Chiropractic LLC v. GEICO Gen. Ins. Co., 925 F.3d 1205, 1212 n.2

(11th Cir. 2019) (“The requisite personal interest that must exist at the

commencement of the litigation (standing) must continue throughout its existence

(mootness).” (quoting U.S. Parole Comm’n v. Geraghty, 445 U.S. 388, 397

(1980))).

      The case-or-controversy requirement applies to actions for declaratory or

injunctive relief. To obtain such relief, a plaintiff “must allege and ultimately prove

‘a real and immediate—as opposed to a merely hypothetical or conjectural—threat

of future injury.’” Strickland v. Alexander, 772 F.3d 876, 883 (11th Cir. 2014)

(quoting Church v. City of Huntsville, 30 F.3d 1332, 1337 (11th Cir. 1994)).

      Defendant first makes the broad argument that because Plaintiffs are both

now 18 years of age their claims fail because they cannot allege a substantial

likelihood of future injury or that the injury will be redressed by a favorable

decision. [Doc. 13-1 at 9].




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      Defendant mischaracterizes both her obligations to youth who have aged out

of foster care as well as her obligations under state and federal law. Pursuant to

DFCS policy 13.01, “When a youth reaches the age of 18 he or she may elect to

remain in a foster care setting without interruption, and continue to receive

independent living services if eligibility criteria was previously met.” Defendant

contends that Plaintiffs have no ability to qualify for extended foster care services

due to their age and immigration status. Breaking down this argument requires a

close look at both state and federal law and policy.

      First, Defendant relies heavily on 8 USC § 1621 and OCGA § 50-36-1 to

argue that extended foster care benefits cannot be provided because Plaintiffs are

not “qualified aliens.” The first statute, which prohibits the provision of certain

state and federal benefits to aliens without status, does not apply because these

Plaintiffs fall under a statutory exception to that rule. Specifically excepted are:

             (4) Programs, services, or assistance (such as soup kitchens,
      crisis counseling and intervention, and short-term shelter) specified by
      the Attorney General, in the Attorney General’s sole and
      unreviewable discretion after consultation with appropriate Federal
      agencies and departments, which (A) deliver in-kind services at the
      community level, including through public or private nonprofit
      agencies; (B) do not condition the provision of assistance, the amount
      of assistance provided, or the cost of assistance provided on the
      individual recipient’s income or resources; and (C) are necessary for
      the protection of life or safety.

8 U.S.C.S. § 1621 (b) (4).
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      Applying her “sole and unreviewable discretion,” then-Attorney General

Janet Reno made the appropriate determination on January 6, 2001 at 66 FR 3613.

[available at: https://www.federalregister.gov/documents/2001/01/16/01-

1158/final-specification-of-community-programs-necessary-for-protection-of-life-

or-safety-under-welfare]. That determination clarifies that among the “types of

programs, services, and assistance enumerated in this Order are ones that Congress

authorized the Attorney General to except from limitations on the ban on the

availability of federal, state, or local public benefits imposed by Title IV of the

Act” and that “[n]either states nor other service providers may use the Act as a

basis for prohibiting access of aliens to any programs, services, or assistance

covered by this Order.” The Order goes on to include as exceptions the following:

             (a) Crisis counseling and intervention programs; services and
      assistance relating to child protection, adult protective services,
      violence and abuse prevention, victims of domestic violence or
      other criminal activity; or treatment of mental illness or substance
      abuse;
             (b) Short-term shelter or housing assistance for the homeless,
      for victims of domestic violence, or for runaway, abused, or
      abandoned children;
             ****
             (f) Activities designed to protect the life or safety of
      workers, children and youths, or community residents;

Id. (emphasis added).




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      Thus, the extended foster care program falls within the exceptions to the rule

that States may not fund services for “unqualified” aliens.

      But what about the Georgia statute, OCGA § 50-36-1? That statute does not

on its face prohibit the expenditure of state or federal funds here. Rather, it

purports to require that before spending such funds, the state must verify the

immigration status of individuals over the age of 18. This statute, too, contains the

same exception found in federal law:

             (d) Verification of lawful presence in the United States under
      federal immigration law under this Code section shall not be required:
             ****
             (5) For programs, services, or assistance such as soup kitchens,
      crisis counseling and intervention, and short-term shelter specified by
      the United States Attorney General, in the United States Attorney
      General’s sole and unreviewable discretion after consultation with
      appropriate federal agencies and departments, which:
             (A) Deliver in-kind services at the community level, including
      through public or private nonprofit agencies;
             (B) Do not condition the provision of assistance, the amount of
      assistance provided, or the cost of assistance provided on the
      individual recipient’s income or resources; and
             (C) Are necessary for the protection of life or safety;

O.C.G.A. § 50-36-1(d)(5).

      Covered by the attorney general’s determination, as shown above, are child

and adult protective services, housing for abandoned youth, and by extension the

extended foster care program.


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      Defendant goes on to argue that SIJ status is not enough; that 8 USC § 1641

requires that to be a “qualified alien,” the Plaintiffs must have their permanent

resident status. First, this argument is disposed of by the above citations

demonstrating that Plaintiffs are exempted from the “qualified alien” requirements

of 8 USC § 1621. Second, such an interpretation is completely inconsistent with

the purposes of the SIJ classification. Individuals with SIJ classification are

considered paroled into the United States pursuant to 8 USC § 1255 (g). And

pursuant to its March 7, 2022, policy announcement, USCIS automatically

considers deferred action for up to four years for individuals with SIJ classification

and may be granted employment authorization. [available at:

https://www.uscis.gov/sites/default/files/document/policy-manual-

updates/20220307-SIJAndDeferredAction.pdf].

      Finally, the Defendants’ argument is completely inconsistent with the

intention of the Georgia General Assembly in enacting the extended foster care

provisions. The General Assembly intended that these young people, who had

been exposed to such maltreatment that they needed to be under the protection of

the State of Georgia and for whom the State agency had not been able to find a

permanent home before their 18th birthdays , should be deemed “children” until age

21. OCGA § 15-11-2 (10)(C); OCGA § 15-11-340 et seq. These children, as the

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State of Georgia defines them, remain in need of protection, housing, and support,

including the support needed to pursue the humanitarian relief available to them

through the path of SIJS.

      This case presents an actual “case and controversy” regarding whether

Defendant employed, and continues to employ, policies or practices that deny

Plaintiffs and similarly situated children the fulfillment of their case plans under

the AACWA, 42 U.S.C. § 671(a)(16) and O.C.G.A. §§ 15-11-201 & 203(b)(2) and

that denies them extended foster care under O.C.G.A. § 15-11-340 et seq. when

they turn 18 year of age without due process of law. The Court can remedy

Defendant’s ongoing violations of Plaintiffs’ rights by enjoining Defendant from

failing complete the implementation of Plaintiffs’ case plan which includes

securing qualified legal counsel to pursue and obtain SIJ classification. While

Plaintiffs were able to ultimately submit SIJ applications through the assistance of

pro bono counsel, those applications stand pending and have not yet been granted.

Plaintiffs contend that Defendant’s case planning obligation is to secure qualified

immigration legal counsel throughout the SIJ classification process to secure the

classification, not merely filing the application. The Court can also remedy

Defendant’s violation of Plaintiffs’ rights by enjoining Defendant from denying

Plaintiffs extended foster care services without due process of law.

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      The harm to Plaintiffs as a result of Defendant’s conduct is immediate and

ongoing. Defendant’s failure to implement Plaintiffs’ case plans and provide them

with extended foster care services has left them abandoned without a permanent

home or a means of supporting themselves and without lawful status. Plaintiffs

will continue to be subject to these harms as a direct result of Defendant’s failure

to meet her obligations under federal and state law.

          B. Abstention

      Defendant next claims the Court lacks subject matter jurisdiction pursuant to

the Younger abstention doctrine. Defendant’s argument is completely without

merit and mischaracterizes the law governing Younger abstention.

      Younger abstention is applicable where “the prospect of undue interference

with state proceedings counsels against federal relief.” Sprint Commc'ns, Inc. v.

Jacobs, 571 U.S. 69, 72, 134 S.Ct. 584, 588, 187 L.Ed.2d 505 (2013). The

Supreme Court's “dominant instruction” to lower federal courts, however, is that

“even in the presence of parallel state proceedings, abstention from the exercise of

federal jurisdiction is the ‘exception, not the rule.’” Id., 571 U.S. at 81-82 (quoting

Haw. Hous. Auth. v. Midkiff, 467 U.S. 229, 236, 104 S.Ct. 2321, 81 L.Ed.2d 186

(1984)). “[F]ederal courts ordinarily should entertain and resolve on the merits an

action within the scope of a jurisdictional grant, and should not ‘refuse to decide a

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case in deference to the States.’” Id. at 73 (quoting New Orleans Pub. Serv., Inc. v.

Council of the City of New Orleans (NOPSI), 491 U.S. 350, 368, 109 S.Ct. 2506,

105 L.Ed.2d 298 (1989)).

      “Abstention is not in order simply because a pending state-court proceeding

involves the same subject matter.” Id. at 72. Only “exceptional circumstances”

warrant deviation from the general rule that federal courts must exercise the

jurisdiction that is given to them. Id. at 78 (quoting NOPSI, 491 U.S. at 368, 109

S.Ct. 2506). Those exceptional circumstances arise in only three contexts: (1) an

ongoing state criminal prosecution, (2) certain civil enforcement proceedings, and

(3) “pending ‘civil proceedings involving certain orders uniquely in furtherance of

the state courts’ ability to perform their judicial functions.’ ” Id. (quoting NOPSI,

491 U.S. at 368, 109 S.Ct. 2506). These three “exceptional” categories “define

Younger’s scope.” Id.

      If the Court finds that one of these exceptional circumstances is present,

there are “additional factors” to be considered. Id. at 81 (citing Middlesex Cty.

Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 102 S.Ct. 2515, 73

L.Ed.2d 116 (1982)). The Middlesex factors include circumstances in which there

is (1) an ongoing state judicial proceeding that (2) implicates important state

interests and (3) provides an adequate opportunity to raise federal challenges. Id.

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The Supreme Court in Sprint clarified that Younger extends to the three

“exceptional circumstances” identified in NOPSI, but no further. Sprint, 571 U.S.

at 82. Only if the state proceedings at issue fall within one of the three Younger

exceptions, must the Court then evaluate whether the Middlesex factors support

abstention. As the Supreme Court explained in Sprint, the three Middlesex factors,

divorced from one of the three types of exceptional proceedings which define

Younger’s scope, “would extend Younger to virtually all parallel state and federal

proceedings, at least where a party could identify a plausibly important state

interest.” Id. at 81.

       Younger abstention is inappropriate in this matter as none of the three

“exceptional” categories of state proceedings exist in this case. As an initial

matter, Defendant fails to identify any ongoing state proceedings. Assuming,

arguendo, there were an ongoing juvenile court proceeding, it would not fit the

first two exceptions as it would be neither a criminal nor a quasi-criminal

proceeding. As for the third exception, it involves federal plaintiffs seeking to

undo state court orders – such as contempt or bond orders – that are “uniquely in

furtherance of the state courts’ ability to perform their judicial functions.” Sprint at

78. Defendant is unable to identify such an order. Instead, Defendant skips over

the three exceptions and inappropriately applies the Middlesex factors to support

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abstention Defendant relies on Eleventh Circuit authority that predates Sprint and,

contrary to Sprint, relies solely on the Middlesex factors as the dispositive test of

whether abstention is appropriate. [Doc. 13-1 at 12-13]. See 31 Foster Children v.

Bush, 329 F.3d 1255, 1274-82 (11th Cir. 2003). Abstention is inapplicable and

Defendant’s motion is due to be denied.

          C. Rule 12(b)(6)

      Finally, Defendant argues that Plaintiffs have failed to state claims under

AACWA, O.C.G.A. § 15-11-200 et seq., the Due Process Clause of the Fourteenth

Amendment, and the Due Process Clause of the Georgia Constitution. Defendant’s

arguments are without merit.

      Rule 8(a)(2) requires a complaint to contain “a short and plain statement of

the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

“Specific facts are not necessary; the statement need only ‘give the defendant fair

notice of what the ... claim is and the grounds upon which it rests.’ ” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)

(quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957)). To

survive a motion to dismiss for failure to state a claim, “a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible

on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d

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868 (2009). To state a plausible claim for relief, plaintiff must go beyond merely

pleading the “sheer possibility” of unlawful activity by a defendant; plaintiff must

offer “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id.

       In addition, when ruling on a defendant's motion to dismiss, the Court must

accept as true all of the factual allegations contained in the complaint. Twombly, at

555 – 556 (citations omitted). A motion to dismiss for failure to state a claim upon

which relief can be granted tests the sufficiency of the complaint; it does not

decide the merits of the case. Wein v. American Huts, Inc., 313 F.Supp.2d 1356,

1359 (S.D.Fla. 2004) (citing Milburn v. United States, 734 F.2d 762, 765 (11th Cir.

1984).

       Defendant first attacks Plaintiffs’ claims under the AACWA and O.C.G.A. §

15-11-200 et seq. (Counts I and II). Defendant argues that Plaintiffs have failed to

show that DFCS violated these statutes by not hiring immigrations attorneys for

Plaintiffs.

       AACWA requires DFCS to develop a case plan for each of the Plaintiffs

when they enter Defendant’s custody. 42 U.S.C. § 671(a)(16). The case plan is a

written document that includes “A plan for assuring that the child receives safe and

proper care and that services are provided to the . . . child . . . in order to . . .

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facilitate . . . the permanent placement of the child, and address the needs of the

child while in foster care, including discussion of the appropriateness of the

services that have been provided to the child under the plan.” 42 U.S.C. §

675(1)(B). “For a child who has attained 14 years of age or over, a written

description of the programs and services which will help such child prepare for the

transition from foster care to a successful adulthood.” 42 U.S.C. § 675(1)(D).

      Obviously, a successful transition to adulthood for an undocumented child

will include lawful status in the United States. The SIJ classification was created

to give undocumented children such lawful status. Consistent with its obligations

under AACWA, DFCS policy requires pursuit of the SIJ classification for

undocumented children.

      Defendant violated Plaintiffs’ rights under the AACWA when it failed to

secure a qualified immigration attorney to pursue the SIJ classification. Plaintiffs

have alleged that DFCS included pursuing SIJ classification as part of Plaintiffs’

case plans. [Doc. 11, ¶ 25]. Plaintiffs also allege that Defendant regularly retains

legal counsel for children in DFCS custody to obtain benefits necessary for

implementation of the case plan such as SSI benefits or special education services.

[Doc. 11, ¶ 30]. Plaintiffs also allege that Defendants did not retain legal counsel

for Plaintiffs which delayed the submission of the SIJ applications and which were

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ultimately submitted by pro bono counsel. [Doc. 11, ¶¶ 29, 31-33]. Plaintiffs

further allege that they currently do not have SIJ status. [Doc. 11, ¶¶ 32-33].

Plaintiffs continue to need qualified immigration counsel to successfully secure SIJ

classification. Plaintiffs have stated claims under the AACWA and O.C.G.A. § 15-

11-200 et seq. and this Court can afford Plaintiffs’ relief by enjoining Defendant to

fulfill Plaintiffs’ case plans and retain qualified immigration counsel to

successfully secure SIJ classification for the Plaintiffs.

      Defendant’s reliance on O.C.G.A. § 45-15-34 for the proposition that state

law prohibits the retention of immigration counsel for Plaintiffs while in DFCS

custody is wildly misplaced. The statute in question grants the Georgia

Department of Law the exclusive authority “in all matters of law relating to the

executive branch of government…” O.C.G.A. § 45-15-34. Plaintiffs have certainly

not alleged they are employees or agents of the executive branch of Georgia’s state

government. Nor is Defendant able to establish such a fact. As such, the statute is

inapplicable to them.

      Defendant next attacks Plaintiffs’ Due Process claims under the Fourteenth

Amendment and the Georgia Constitution. Defendant’s due process argument

relies on the faulty legal conclusion that Plaintiffs must demonstrate they are

“qualified aliens.” As discussed above, Defendant’s legal analysis is flawed.

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      “To successfully assert a Fourteenth Amendment procedural due process

claim under §1983, a plaintiff must establish that (1) the defendant deprived him of

a liberty or property interest protected by the Constitution; (2) the deprivation

occurred under color of state law; and (3) he was not provided with constitutionally

adequate process to redress the harm.” Grayden v. Rhodes, 345 F.3d 1225, 1232

(11th Cir. 2003).1

      “The first inquiry in every due process challenge is whether the plaintiff has

been deprived of a protected interest in ‘property’ or ‘liberty.’” Am. Mfrs. Mut. Ins.

Co. v. Sullivan, 526 U.S. 40, 59 (1999). The Supreme Court in Goldberg, supra,

held that “a person receiving welfare benefits under statutory and administrative

standards defining eligibility for them has an interest in continued receipt of those

benefits that is safeguarded by procedural due process. Roth, 408 at 576. To have

a property interest in a benefit, a person must “have a legitimate claim of

entitlement to it,” not just “an abstract need or desire for it.” Id. at 577. “Thus the

welfare recipients in Goldberg v. Kelly. . . had a claim of entitlement to welfare

payments that was grounded in the statute defining eligibility for them.” Id. (citing

Goldberg v. Kelly, 397 U.S. 254 (1970)).


1
 The Georgia Supreme Court interprets the due process clause under the Georgia
Constitution as providing the same procedural rights as the U.S. Constitution. See
Camden County v. Haddock, 271 Ga 664, 665, 523 S.E.2d 291 (1999).
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       Just as the plaintiff in Goldberg had a property interest in welfare payments

created and defined by statute, so too do Plaintiffs have a property interest in their

extended foster care benefits which are created and defined by O.C.G.A. § 15-11-

340 et seq. Pursuant to O.C.G.A. § 15-11-340, both Plaintiffs were eligible for and

entitled to extended foster care services. Defendant had failed to find a permanent

home for either Plaintiff prior to them turning 18. [Doc. 11, ¶ 41]. Both Plaintiffs

remained in high school. [Id., ¶¶ 42-43]. Plaintiff SCG also has a disability. [Id., ¶

42]. Plaintiff KLP was initially provided with extended foster care services by

Defendant after turning 18 but was ejected from the program in November 2021.

[Id., ¶ 44].

       The next inquiry is whether the deprivation of Plaintiffs’ extended foster

care benefits occurred under color of state law. “Because the [Fourteenth]

Amendment is directed at the States, it can be violated only by conduct that may be

fairly characterized as ‘state action.’” Lugar v. Edmondson Oil Co., 457 U.S. 922,

924 (1982). Plaintiffs have alleged that Defendant is a state actor operating

pursuant to her authority under state law. See O.C.G.A. §49-2-1. [Doc 11, ¶ 14].

       The final inquiry is how much process is due when the Defendant attempts

to deprive Plaintiffs of their property interests in their extended foster care benefits.

As the Supreme Court in Goldberg pronounced, due process requires that the

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agency’s reason for its action be stated in sufficient detail to allow the affected

individual “an effective opportunity to defend by confronting any adverse witness

and by presenting his own arguments and evidence orally.” Goldberg at 267-68.

“These rights are important. . . where recipients have challenged proposed

terminations as resting on incorrect or misleading factual premises or on

misapplication of rules or policies to the facts of particular cases.” Id. at 268.

Without effective notice, a claimant’s due process right to a fair hearing is

rendered fundamentally illusory. Kapps v. Wing, 404 F.3d 105, 124 (2nd Cir. 2005)

(citing Escalera v. New York Hous. Auth., 425 F.2d 853, 862 (2nd Cir. 1970)

(noting that a hearing would be of little value if the defendant could deny the

claimants benefits based on reasons of which the claimant had no knowledge).

Stating only the “ultimate reason” is insufficient notice. See Dilda v. Quern, 612

F.2d 1055, 1057 (7th Cir. 1980). Thus, for due process to be satisfied, Defendant

must provide the specific reasons for how the decision was reached.

      Plaintiff KLP alleges she was ejected from extended foster care services and

was not provided by Defendant with notice of the reasons for the denial of

extended foster care service nor was she provided an opportunity to request a

hearing to challenge the denial. [Doc. 11, ¶ 45]. Similarly, Plaintiff SCG alleges

that he was not afforded an opportunity to apply for extended foster care services

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upon his eighteenth birthday. [Doc. 11, ¶ 46]. He also alleges that he was not

provided with notice of the denial of extended foster care services or provided an

opportunity to request a hearing to challenge the denial. [Doc. 11, ¶ 47].

      Plaintiffs have clearly stated a claim for violations of the Due Process

Clause of the Fourteenth Amendment and Georgia Constitution.

      IV.    CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request Defendant’s Motion

to Dismiss be denied.

                          Local Rule 7.1D Certification

      By signature below, counsel certifies that the foregoing document was

prepared in 14 point Times New Roman font, approved by the Court in LR 5.1B.

      Respectfully submitted this 27th day of July, 2022.

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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

Plaintiffs’ Response in Opposition to Defendant’s Motion to Dismiss Amended

Complaint with the Clerk of Court using the CM/ECF system which will

automatically send e-mail notification of such filing to the following attorneys of

record:

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      This 27th day of July, 2022.

                                               /s/ Joshua H. Norris
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